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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION
                           ______________

CRYSTAL HERMIZ,

                   Plaintiff,                       Case No. 2:16-cv-14089
                                                    Hon. Victoria A. Roberts
vs.

CREDIT ACCEPTANCE CORPORATION,
a Michigan corporation,

                   Defendant.
                                             /
Carol A. Laughbaum (P41711)                      Michael J. Bommarito (P36870)
Brian J. Farrar (P79404)                         Susan D. Koval (P59297)
Attorneys for Plaintiff                          Attorneys for Defendant
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                                             /

        PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION
             TO DISMISS OR, IN THE ALTERNATIVE,
         STAY PROCEEDINGS AND COMPEL ARBITRATION

      Plaintiff Crystal Hermiz by her attorneys Sterling Attorneys at Law P.C.

responds in opposition to Defendant’s Motion to Dismiss or, in the Alternative, Stay

Proceedings and Compel Arbitration as set forth more fully in the accompanying

brief and exhibits, and respectfully requests an Order denying that motion.
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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION
                           ______________

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                                               Hon. Victoria A. Roberts
vs.

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                                        /



                     BRIEF IN SUPPORT OF
        PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION
             TO DISMISS OR, IN THE ALTERNATIVE,
         STAY PROCEEDINGS AND COMPEL ARBITRATION
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           COUNTER-STATEMENT OF ISSUE PRESENTED

Is Defendant’s arbitration agreement, which limits the parties in this
employment discrimination case to just one deposition each, unenforceable?

           Plaintiff answers:              Yes
           Defendant answers:              No

           The Court should answer:        Yes




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       CONTROLLING OR MOST APPROPRIATE AUTHORITY

Walker v Ryan's Family Steak Houses, Inc, 400 F3d 370 (6th Cir 2005)

Hurnvenich v Arvinmeritor, Inc, 10-cv-10278 (ED Mich Dec 22, 2010)




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                           I.    INTRODUCTION

      This is an action for pregnancy/sex discrimination in violation of

Michigan’s Elliott-Larsen Civil Rights Act, MCL 37.2101 et seq.; and for

violations of the Family and Medical Leave Act, 29 USC 2601 et seq., arising out

of Plaintiff’s employment relationship with Defendant.

      Defendant seeks to dismiss Plaintiff’s complaint and compel arbitration,

relying on its employer promulgated arbitration agreement that limits Plaintiff

to taking just one deposition. This is a clearly unreasonable restriction on

discovery which renders the arbitration agreement unenforceable, and

Defendant’s motion should be denied.

                II.   COUNTER STATEMENT OF FACTS1

      Plaintiff Crystal Hermiz became employed by Defendant on July 30, 2012

as a Credit Analyst (see Exh A, Complaint, ¶6). In April 2015, she was promoted

to Senior Credit Analyst (Id at ¶7). Throughout her employment, Defendant

consistently ranked Plaintiff as the #1 or #2 analyst in the entire department (of

85 analysts) (Id at ¶9). In late 2014, Plaintiff moved to a new team within her

department and began reporting to a new manager, Regina Lee (Id at ¶10). At

that time, Plaintiff was suffering from migraines and was intermittently using

time under the Family Medical Leave Act (“FMLA”) to cope with her


1
 For purposes of this motion, the Court must accept as true the facts pled in the
complaint. Handy-Clay v City of Memphis, Tenn, 695 F3d 531, 535 (6th Cir 2012).
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symptoms (Id at ¶11). Previously, Defendant’s Human Resources Department

had approved Plaintiff use of up to two days of FMLA leave per week (Id at

¶12). Lee repeatedly expressed disapproval of and hostility toward Plaintiff with

respect to her use of FMLA leave, telling Plaintiff, “I can’t just let you leave

when you want,” and informing Plaintiff that she could not take a full day of

FMLA leave, but was restricted to taking a maximum of four hours of time off

on any given day (Id at ¶13).

      In early July 2016, Plaintiff Hermiz informed Ms. Lee that Plaintiff was

pregnant and that she would be requiring FMLA leave due to her pregnancy (Id

at ¶¶15-16). Less than one month later, Defendant fired Plaintiff on the

purported basis of “job abandonment” (Id at ¶26). Defendant’s treatment and

termination of Plaintiff were based on unlawful consideration of her pregnancy,

and Plaintiff having exercised her rights under the FMLA (Id at ¶30; ¶38).

                            III.   LEGAL ANALYSIS

A.    An arbitration agreement that does not allow for reasonable discovery
      is unenforceable.

      Because arbitration agreements are contracts, they are reviewed in

accordance with the applicable state law of contract formation. Seawright v Am

Gen Fin Services, Inc, 507 F3d 967, 972 (6th Cir 2007); Morrison v Circuit City Stores,

Inc, 317 F3d 646, 666 (6th Cir 2003) (the enforceability of an arbitration

agreement is analyzed according to state contract law). Therefore, traditional


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contract defenses such as “fraud, forgery, duress, mistake, lack of consideration

or mutual obligation, or unconscionability, may invalidate arbitration

agreements.” Cooper v MRM Inv Co, 367 F3d 493, 498 (6th Cir 2004) (emphasis

added). When an arbitration agreement places unreasonable restrictions on

discovery, it is unenforceable. Walker v Ryan’s Family Steak Houses, Inc, 400 F3d

370, 387-88 (6th Cir 2005) (an arbitration agreement that limits discovery to just

one deposition was unconscionable and therefore, unenforceable); see also

Rembert v Ryan’s Family Steak Houses, Inc, 235 Mich App 118, 161 (1999) (to

satisfy requirements of procedural fairness, arbitration procedures involving

employee’s statutory employment discrimination claims must provide....

reasonable discovery), discussed further, below.

        Here, Defendant’s arbitration agreement limits each side to just one fact

deposition unless the arbitrator grants additional discovery upon a showing of

“substantial need” (see Exh B, Arbitration Agreement). In Hurnvenich v

Arvinmeritor, Inc, 10-cv-10278, the Honorable Denise Page Hood invalidated a

nearly identical arbitration agreement that restricted the parties to just one

deposition absent a showing of substantial need.2 While recognizing “that

parties to an arbitration agreement should expect circumscribed discovery,”

Judge Hood held that the one deposition restriction did not constitute




2
    A copy of Judge Hood’s decision in Hurnevich is attached as Exh C.
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“reasonable discovery.” Id at 6. The Court found that “[s]ubstantial need is too

high of a threshold to provide for reasonable discovery. Because the Agreement

does not provide for reasonable discovery, it is rendered unenforceable.” Id. Not

only did Hurnvenich have a nearly identical arbitration agreement – it also was a

pregnancy/sex discrimination and FMLA case, like the present.

      In Walker, another employment case, the Sixth Circuit recognized that

limited discovery can pose an unfairness to claimants. Walker, 400 F3d at 387.

The district court noted that “[e]mployment claims often require an employee

to conduct many depositions (e.g., co-workers, supervisors, etc.) to make out her

case, while employers are often able to defend such claims with only one

deposition – that of the employee. Thus, employees usually have a need for more

discovery than employers, and stringent limitations on depositions such as those

promulgated by [defendant] more heavily burden the employee than the

employer.” Walker v Ryan's Family Steak Houses, Inc, 289 F Supp 2d 916, 925

(MD Tenn 2003) aff’d 400 F3d at 388 (agreeing that the discovery limits were

so restrictive that employees could not adequately vindicate their rights).

      Courts have refused to enforce arbitration agreements that limited

depositions to as many as three per side. In Ferguson v Countrywide Credit Indus,

298 F3d 778 (9th Cir 2002), the Court invalidated an arbitration agreement that

restricted discovery to three depositions (not counting the deposition of experts),

refusing to enforce it. Id at 786.

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      Before Defendant filed its motion, Plaintiff’s Counsel advised Defense

Counsel of the problematic “one deposition” issue, and specifically directed

Defense Counsel to Judge Hood’s opinion in Hurnevich (a case brought by

Plaintiff’s counsel), and the cases cited therein, including the binding Sixth

Circuit Walker opinion - both of which are directly on point and from this circuit.

Yet, in its motion, Defendant wholly ignores the “one deposition” issue,

Hurnevich and Walker. Defendant argues that because Plaintiff signed an

agreement to arbitrate, her claims must be submitted to arbitration, period.

      Rather than address the reasonable discovery requirements set forth by the

courts in Hurnvenich, Walker, and Rembert, above, Defendant’s motion simply

recites boilerplate legal arguments concerning the general enforceability of

arbitration agreements. Plaintiff does not dispute that courts in this district have

previously enforced agreements to arbitrate. What Defendant’s argument misses

is that those agreements must be reasonable – and a one deposition limit on

discovery is invalid. In fact, Defendant’s brief fails to cite a single authority from

the Sixth Circuit, or this Court, for the proposition that a one deposition limit is

enforceable, and thus, their cases are not particularly helpful. Instead, Defendant

has extracted and relies heavily on a single opinion in which one court found its

arbitration agreement was enforceable. Defendant’s motion should be denied

for the same reason as set forth in Hurnvenich.



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B.    Defendant’s “cost splitting” provision is also unenforceable.

      In addition to the one deposition limit, Defendant’s arbitration agreement

includes a fee-splitting provision that requires the parties split “any and all fees

and expenses of the Arbitrator” (Exh B). The Sixth Circuit has invalidated these

agreements as unreasonable deterrents on litigants. Morrison, 317 F3d at 663 (a

cost-splitting provision that would deter a substantial number of potential

litigants, undermines the deterrent effect of the anti-discrimination statutes and

is unenforceable). The Morrison court noted that the costs of pursuing the

plaintiff’s employment claims in arbitration could reach tens of thousands of

dollars, “far exceeding the costs that a plaintiff would incur in court.” Id at 669.

      Plaintiff Hermiz is currently unemployed due to Defendant’s actions, and

should not (and under the law cannot) be forced to split the costs of an

arbitration, see also DeOrnellas v Aspen Square Mgt, Inc, 295 F Supp 2d 753, 766

(ED Mich 2003) (finding that the cost-sharing provision in an employer’s

arbitration agreement was unenforceable).

                            IV. CONCLUSION

      Case laws directly on point confirms that arbitration agreements that

unduly restrict a plaintiff’s right to obtain adequate discovery by allowing a

plaintiff one deposition “absent a showing of substantial need,” particularly in a

fact intensive employment case, are unconscionable and unenforceable. For the


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reasons set forth above, Plaintiff respectfully requests an Order denying

Defendant’s motion.



           PROOF OF SERVICE                        Respectfully submitted,

 I certify that on January 6, 2017, I filed the    STERLING ATTORNEYS AT LAW, P.C.
 foregoing paper with the Clerk of the Court
 using the ECF system which will
 electronically send notification to all counsel
                                                   By:   /s/Brian J. Farrar
 of record.                                              Carol A. Laughbaum (P41711)
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